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IN THE UNITED sTAT§s DlsTRiCT CoURr§-.’§ ’ ila f h PH 2: g ;;
FoR THE WESTERN DIsTRICT 0F T§NNESSE§ "
EASTERN DIVISION ‘

 

UNITED STATES OF AMERlCA

vs CR NO. 1:04-10067-01-T
MICHAEL BRAD JUMPER
ORDER ON CHANGE OF PLEA

This cause came on to be heard on June 13, 2005, Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person and with
counsel, A. Russell Larson, Who was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 and 4 of the Superseding lndictment.

This case has been set for sentencing on Tuesday, September 13, 2005 at 8:30

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

 

 

DATE: / q (()///!/l/\/ M(

Th|s document entered on the docket sheet In compliance

with nme 55 and,'or 32('0) Fach on , 2§9 1305

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:04-CR-10067 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

A. Russell Larson

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U.S. ATTORNEY
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Honorable J ames Todd
US DISTRICT COURT

